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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA
                                     ALBANY DIVISION

 SHAVONNE WILLIAMS,

              Plaintiff,

 vs.                                                          Civil Action No. 1:21-cv-10

 PHOEBE PUTNEY HEALTH SYSTEM,
 INC., d/b/a Phoebe Putney Memorial
 Hospital;ALBANY AREA PRIMARY
 HEALTH CARE, INC., d/b/a ALBANY
 AREA PRIMARY HEALTH CARE;
 JEFFREY ELLIS; FRANCIS KWARTENG;
 ANTHONY G. JONES; AND DOE
 DEFENDANTS 1-25,

              Defendants.


                                    NOTICE OF REMOVAL

TO:    The United States District Court for the Middle District of Georgia, Albany Division

       PLEASE TAKE NOTICE THAT pursuant to 42 U.S.C. §§ 233(a) and 233(c) and on

behalf of Defendants Albany Area Primary Health Care, Inc., and its employee Francis

Kwarteng, M.D. (hereinafter “PHS Defendants”); Peter D. Leary, Acting United States Attorney

for the Middle District of Georgia by and through his designee, Assistant United States Attorney

for the Middle District of Georgia Kevin D. Abernethy, respectfully submits this Notice of

Removal to remove this case from the State Court of Dougherty County, Georgia to the United

States District Court for the Middle District of Georgia, Albany Division and in support and

explanation thereof shows:

       1.      By removing this case on behalf of the PHS Defendants, the United States does

not admit that they or it are subject to the jurisdiction of the Court or that they have been
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properly served. The effect of removal is to simply establish that the suit against the PHS

Defendants should have been filed in the United States District Court for the Middle District of

Georgia and named only the United States as a Defendant in their stead.

       2.      The State Court of Dougherty County, Georgia, case in which the PHS

Defendants are named is pending as Case Number STSV2020000287, within the judicial district

and division of this Court. No trial has yet been had in this action. A copy of all process,

pleadings and orders served upon Defendants, or received by the Defendants, in such action are

attached hereto as Exhibit A.

       3.      Discussed more fully hereinafter, the PHS Defendants, all deemed employees of

the Public Health Service (PHS), have had the Complaint in this case attempt to state a claim

against them by the Plaintiff for actions they took while acting in that capacity in the course and

scope of their employment.

       4.      The Plaintiff in the above-referenced State Court action seeks damages from the

PHS Defendants, and others, for alleged negligent acts or omissions in the course and scope of

their employment in providing care to Plaintiff Shavonne Williams.

       5.      Congress has provided in 42 U.S.C. § 233(a) that the exclusive remedy for such a

claim against a PHS Defendant is against the United States under 28 U.S.C. §§ 1346(b) and 2671

et seq., the Federal Tort Claims Act (FTCA) and 42 U.S.C. § 233(a).

       6.      Under the FTCA, only United States District Courts have jurisdiction over such

claims as are made in the above-referenced State Court of Dougherty County, Georgia case

against a PHS Defendant.

       7.      Congress has provided in 42 U.S.C. § 233(c) that such an action commenced in a

State court shall be removed to the proper United States District Court upon certification by the




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Attorney General that a PHS Defendant was acting in the scope of his employment at the time of

the incident out of which the suit arose. Under the allegations of the Plaintiff in the State Court

of Dougherty County, Georgia, case, the proper United States District Court is the District Court

for the Middle District of Georgia, Albany Division.

       8.      Also removed are the claims against the Defendants other than the Albany Health

Defendants, over and against whom or which the United States District Court for the Middle

District of Georgia shall have and exercise supplemental jurisdiction under 28 U.S.C. § 1367(a),

unless and until the said Court shall direct to the contrary.

       9.      A copy of this Notice of Removal is being served upon all parties and the copy

hereto will be filed with the Clerk of the State Court of Dougherty County, Georgia, pursuant to

28 U.S.C. § 1446(d), whereupon all further proceedings shall be in this Court.

       WHEREFORE, the PHS Defendants pray that the action pending in the State Court of

Dougherty County, Georgia, Case Number STSV2020000287, be removed to this Court for such

further proceedings as may be appropriate, under and pursuant to 42 U.S.C. § 233(c).

       Respectfully submitted this 13th day of January, 2021.

                                                       PETER D. LEARY
                                                       ACTING UNITED STATES ATTORNEY

                                               By:     s/ Kevin D. Abernethy
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                                   CERTIFICATE OF SERVICE

       I, Kevin D. Abernethy, Assistant United States Attorney, hereby certify that on the 13th

of January, 2021, I electronically filed the foregoing Notice of Removal with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

N/A.

       I also certify that I have mailed by the United States Postal Service the documents and a

copy of the Notice of Electronic Filing to the following non-CM/ECF participants:

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